










Opinion issued March 25, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01-04-00042-CV




BIG CITY ENTERTAINMENT, INC. AND QUENTIN R. HOLLIS,
Appellants

V.

N. F. SMITH &amp; ASSOCIATES, Appellee




On Appeal from the 55th District Court
Harris County, Texas
Trial Court Cause No. 199931124




MEMORANDUM OPINIONAppellants Big City Entertainment, Inc. and Quentin R. Hollis have neither
established indigence, nor paid all the required fees.  See Tex. R. App. P. 5 (requiring
payment of fees in civil cases unless indigent), 20.1 (listing requirements for
establishing indigence); see also Tex. Gov’t Code Ann. §§ 51.207, 51.941(a),
101.041 (Vernon Supp. 2004) (listing fees in court of appeals); Fees Civ. Cases
B(1), (3) (listing fees in court of appeals).  After being notified that this appeal was
subject to dismissal, appellants Big City Entertainment, Inc. and  Quentin R. Hollis
did not adequately respond.  See Tex. R. App. P. 5 (allowing enforcement of rule);
42.3(c) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.
PER CURIAM
Panel consists of Justices Nuchia, Jennings, and Higley.


